       Case 4:22-cr-00115-JFH Document 123 Filed in USDC ND/OK on 01/03/23 Page 1 of 1


                                            UNITED STATES DISTRICT COURT
                                           NORTHERN DISTRICT OF OKLAHOMA


 United States of America,
                                                           Plaintiff,       Case No.:      22-cr-115-JFH
 vs.                                                                        Date:          1/3/2023
                                                                            Court Time:    9:27 a.m. to 9:41 a.m.

 Nicole Cox,
                                                       Defendant(s).        MINUTE SHEET CHANGE OF PLEA

Donald D. Bush, Magistrate Judge                       C. Portilloz, Deputy Clerk         FTR 5

Counsel for Plaintiff:    David Nasar
Counsel for Defendant: Michael Noland                     , Appt.
Probation Officer:        Not present
Age of Defendant:                                         Interpreter:                                      ☐ sworn
Defendant appears in person: ☒ with Counsel;           ☐ Counsel waived;       ☐ w/o Counsel;               Defendant:   ☒ sworn;
☒ Defendant Consents to Magistrate conducting Guilty Plea Hearing
Defendant’s name as reflected in the Indictment
       ☒ Verified in open court as the true and correct legal name. Defendant advises her true and correct legal name is Nicole
          Michelle Cox
☒ Defendant acknowledges receipt of Indictment
Defendant waives:        ☐ Indictment; ☒ Jury Trial;      ☐ Speedy Trial;           ☐ 30 Days Preparation; ☐ Separate Representation
                         ☒ Waivers approved by Court;
                                                                                                                  Reading waived
Defendant advised of: ☒ Charge and ☒ Indictment                                     Indictment:          ☐ Read ☒ in petition
☒ Defendant does not dispute facts of charge
☒ Petition to enter plea of Guilty sworn and executed
☒ Defendant withdraws not guilty plea(s) as to those Count(s) 6
  of the Indictment and Defendant enters guilty plea(s) as to those counts
☒ Defendant adjudged guilty as charged as to Count(s) 6
  of the Indictment
☒ Petition approved in open court                       ☒ Plea Agreement approved in open Court                     ☒ PSI ordered
☒ Remaining Count(s) to be dismissed at sentencing: 5 and 17
☒ SENTENCING to be scheduled upon completion of PSI
☒ Defendant remanded to custody of U.S. Marshal
Additional Minutes:




Change Plea Magistrate Judge                                                                                                (8/2021)
